                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF IOWA
                                 Western Division


NUSTAR FARMS, LLC                            )
     et al                                   )
                                             )
       Plaintiffs,                           )
                                             )
v.                                           )           Case 5:20-cv-04003-CJW-MAR
                                             )
                                             )
RYAN LIZZA                                   )
     et al                                   )
                                             )
       Defendants.                           )
                                             )


                RESISTANCE AND OPPOSITION TO
               DEFENDANTS’ MOTION TO COMPEL
       Plaintiffs, NuStar Farms, LLC, Anthony Nunes, Jr. and Anthony Nunes, III, by

counsel, pursuant to Local Rule 7e, respectfully submit this Resistance and Opposition to

the motion to compel filed by defendants, Ryan Lizza and Hearst Magazine Media, Inc.

(the “Defendants”). [ECF No. 106].1

                                 I. INTRODUCTION

       The litigation process is – or should be – a search for the truth. Littlewood v.

Federal Realty Inv. Trust, 2014 WL 6713468, at * 2 (Sup. Mass. 2014); id. Bartsch v.

Lage, 2019 WL 166206, at * 6 (N.J. Super. 2019) (“The discovery rules are to be

construed liberally and broadly to facilitate the search for the truth during litigation”);

Riley v. Goodman, 315 F.2d 232, 234 (3rd Cir. 1963) (“We have long abandoned the


       1
               This Opposition is supported by portions of the transcript of the deposition
of                                 attached as Exhibit “A”.

                                            1

 Case 5:20-cv-04003-CJW-MAR Document 108 Filed 06/01/21 Page 1 of 12
Case 5:20-cv-04003-CJW-MAR Document 108 Filed 06/01/21 Page 2 of 12
Case 5:20-cv-04003-CJW-MAR Document 108 Filed 06/01/21 Page 3 of 12
                                                                                    In sum,

Defendants’ statements published in the article are almost entirely fabricated.

        Defendants’ motion seeks to distract from the truth and create issues where none

exist. Every single NuStar employee was documented at the time of employment.

                                                                    The NuStar employees

willingly agreed to be deposed. They want to answer questions. The deposition of




                    Defendants’ goal is to scare the NuStar employees. Harassment and

intimidation of witnesses and use of theatrical motions to create a Twitter spectacle

transforms litigation into a mere game and renders the entire judicial process – the search

for the truth – futile and illusive.

                                       II. DISCUSSION

        The Federal Rules authorize broad discovery. See, e.g., Fed. R. Civ. P. 26(b)(1)

(“Parties may obtain discovery regarding any nonprivileged matter that is relevant to any

party’s claim or defense.”). For purposes of pretrial discovery, relevancy “has been

construed broadly to encompass any matter that bears on, or that reasonably could lead to

other matter that could bear on, any issue that is or may be in the case.” Daniels v. City of

Sioux City, 294 F.R.D. 509, 512 (N.D. Iowa 2013) (quoting Oppenheimer Fund, Inc. v.

Sanders, 437 U.S. 340, 351 (1978)). “Discovery Rules are to be broadly and liberally

construed in order to fulfill discovery’s purposes of providing both parties with

‘information essential to the proper litigation of all relevant facts, to eliminate surprise,




                                             4

 Case 5:20-cv-04003-CJW-MAR Document 108 Filed 06/01/21 Page 4 of 12
Case 5:20-cv-04003-CJW-MAR Document 108 Filed 06/01/21 Page 5 of 12
Case 5:20-cv-04003-CJW-MAR Document 108 Filed 06/01/21 Page 6 of 12
Case 5:20-cv-04003-CJW-MAR Document 108 Filed 06/01/21 Page 7 of 12
Case 5:20-cv-04003-CJW-MAR Document 108 Filed 06/01/21 Page 8 of 12
These scandalous and defamatory statements must be stricken. They are completely

untrue.

          There is no need for the Court to take the unprecedented step of appointing

counsel for witnesses who already have an attorney. There is certainly no need to appoint

counsel for witnesses who do want or need lawyers. Defendants argue that




                     This non sequitor is patently untrue. NuStar and its employees want

the depositions to proceed. They diligently sought out and obtained independent counsel.

Counsel and the witnesses are ready to proceed.

B.        The NuStar Employees Will Produce Whatever Documents They Have

          The NuStar employees recognize that the subpoenas request the production of

certain documents. The first employee witness

                                                                                 .

          Prior to the employee depositions, each will produce any and all documents in

their possession and control that are responsive to the subpoena duces tecum. Since

many of the workers                                                         , Defendants

should not be surprised that




                                            9

 Case 5:20-cv-04003-CJW-MAR Document 108 Filed 06/01/21 Page 9 of 12
C.      The NuStar Employees Must Be Protected From Harassment By Defendants

        Plaintiffs’ counsel’s limited objections at the deposition were proper and were

intended to                                                                  . No effort

was made to “signal to the witness how to answer questions” or to “coach[] the witness to

testify in a certain way.” Counsel for the Defendants got answers to all his questions,

including                                                     . The deponent was never

instructed not to answer. Indeed, he wanted to answer all questions. Plaintiff’s counsel

sought a side bar with counsel for the witness



                                                          .

        Defendants want the Court to force the NuStar employees to hire counsel of the

Defendants’ choice, someone who will



                                    . The NuStar employees did nothing wrong. They have

the right to testify and they want to testify.

                                       CONCLUSION

        Defendants’ motion is replete with falsehoods and unnecessary ad hominem

attacks on Plaintiffs, Plaintiffs’ employees and Plaintiffs’ counsel – so many that it is

impossible to respond to all of them. The misstatements and attacks are undignified, and

are intended to stir up controversy on the Internet, where Defendants’ counsel’s

statements are republished with gusto. Plaintiffs and their counsel are trying to protect



                                                 10

Case 5:20-cv-04003-CJW-MAR Document 108 Filed 06/01/21 Page 10 of 12
the employees from harassment, intimidation, and outright threats by the Defendants.

Plaintiffs and their counsel have facilitated the depositions because the employees want

to testify and Plaintiffs want to expose the truth about the Esquire article. NuStar found

independent counsel for its employees. There is absolutely no reason for the Court to

intervene at this point.

        For the foregoing reasons, Plaintiffs respectfully request the Court to deny the

Defendants’ motion to compel.



DATED:          June 1, 2021



                               NUSTAR FARMS, LLC
                               ANTHONY NUNES, JR.
                               ANTHONY NUNES, III


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                                           11

Case 5:20-cv-04003-CJW-MAR Document 108 Filed 06/01/21 Page 11 of 12
                           CERTIFICATE OF SERVICE

       I hereby certify that on June 1, 2021 a copy of the foregoing was served via email

in PDF on counsel for the Defendants.




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                                           12

Case 5:20-cv-04003-CJW-MAR Document 108 Filed 06/01/21 Page 12 of 12
